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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
JACQUELINE THIBODEAUX,               )
                                     )
                Plaintiff,           )
                                     )
     v.                              )     Case No.: 1:16-CV-8177
                                     )
SCR MEDICAL TRANSPORATION            )
                                     )
                Defendant.           )


      ORDER OF APPROVAL OF SETTLEMENT AND ORDER OF DISMISSAL



       THIS CAUSE having come before the Court on the Parties’ Joint Motion for Court

Approval of Settlement and Dismissal of Complaint, it is hereby:

       ORDERED AND ADJUDGED as follows:

       1.      This Court hereby grants the Parties’ Joint Motion for Court Approval of

Settlement.

       2.      After having reviewed the terms and conditions hereof, this Court hereby accepts

and approves the settlement reached between the parties as a fair and reasonable settlement of a

bona fide dispute over the provisions of the Chicago Minimum Wage Ordinance, the Illinois

Minimum Wage Law, and the Fair Labor Standards Act.

       3.      This case is dismissed without prejudice and with leave to reinstate until August

1, 2017, solely for purposes of enforcing the parties’ settlement agreement.




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       4.      If Plaintiff does not file a motion to reinstate on or before August 1, 2017, then

the dismissal will convert automatically to a dismissal with prejudice, all parties to bear their

own attorneys’ fees and costs.

THIS CASE IS CLOSED.

       DONE AND ORDERED this 18th day of July, 2017.




                                                                                              .
                                               Judge Amy J. St. Eve




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